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              United States Court of Appeals
                              For the First Circuit
No. 13-1655

                                   WAYNE J. JEWELL

                                    Plaintiff - Appellant

                                             v.

                                    UNITED STATES

                                   Defendant - Appellee

                                       MANDATE

                                 Entered: January 24, 2014

       In accordance with the judgment of December 2, 2013, and pursuant to Federal Rule of
Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                           By the Court:

                                           /s/ Margaret Carter, Clerk


cc:
Seth R. Aframe
Wayne J. Jewell
T. David Plourde
